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            EXHIBIT 1
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 1
     Aimee H. Wagstaff (SBN 278480)
 2   Aimee.wagstaff@andruswagstaff.com
     Kathryn M. Forgie (SBN 110404)
 3   Kathryn.forgie@andruswagstaff.com
     David J. Wool (SBN 324124)
 4   David.Wool@andruswagstaff.com
 5   ANDRUS WAGSTAFF, PC
     7171 W. Alaska Drive
 6   Lakewood, Colorado 80226
     Telephone: (866) 795-9529
 7   Facsimile: (303) 376-6361

 8   Attorneys for Plaintiff

 9
                                 UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                                    )
12   IN RE: ROUNDUP PRODUCTS                        ) MDL No. 2741
     LIABILITY LITIGATION                           )
13                                                  ) Case No. 3:16-md-02741-VC
                                                    )          3:16-cv-05658-VC
14                                                  )
                                                    )
15   This document relates to:                      )
                                                    )
16   Emanuel Richard Giglio v. Monsanto Co.,        )
     Case No. 3:16-cv-05658                         )
17                                                  )
18
                               PLAINTIFF’S R. 26 EXPERT DISCLOSURES
19
           Pursuant to Pretrial Orders #150 and #171 and Fed. R. Civ. P. 26(a)(2), Plaintiff in the
20

21   above-captioned case provides the following expert designations and disclosures. Plaintiff’s

22   disclosure of expert witnesses is subject to the following reservation of rights:

23        1. The right to supplement or amend this witness list based upon any rulings of the Court
24
              or any other court decisions that affect the scope of evidence in this trial;
25
          2. The right to withdraw the designation of any expert prior to testimony, and positively
26
              aver that such previously designated expert will not be called as a witness at trial;
27

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     3. The right to amend or supplement expert opinions based on additional discovery
 1

 2      including updated medical records, deposition testimony, medical literature, or

 3      scientific studies;
 4   4. The right to supplement the references considered and/or relied upon by Plaintiff’s
 5
        designated experts in order to address newly available information or literature;
 6
     5. The right to elicit expert testimony at trial from any qualified person, including
 7
        Plaintiff’s treating health care providers, as permitted under the applicable rules of
 8
 9      evidence and procedure;

10   6. Plaintiff’s expert witnesses, as identified below, may testify about their skill,

11      knowledge, experience, training and education in their respective fields, the relevant
12      medical and scientific literature; the techniques and methods in their field of practice;
13
        and the description and nature of their practice. They may testify about their
14
        publications, presentations, research and all matters detailed in their respective
15
        curriculum vitae. They may testify based on facts or data perceived by or made known
16

17      to them at or before trial that have been properly disclosed under the applicable rules

18      of evidence and procedure. They may employ demonstrative and visual aids.

19   7. Plaintiff reserves the right to offer supplemental expert opinions based on updated or
20
        new information relative to the litigation. Plaintiff reserves the right for his expert
21
        witnesses to update the literature upon which the witnesses rely in support of their
22
        opinions.
23
     8. Plaintiff incorporates all prior reports, if any, the experts have issued in MDL 2741 or
24

25      any other state or federal litigation.

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          9. By identifying the expert witnesses named below, Plaintiff does not intend to waive
 1

 2            any objections to deposition testimony, exhibits, or other evidence or argument.

 3            Plaintiff reserves the right to call and elicit testimony from any and all of Defendant’s
 4            current or former employees who have been disclosed as a witness and/or offered
 5
              testimony and/or have been identified in discovery.
 6
          10. Plaintiff reserves the right to call and elicit testimony at trial from any and all of
 7
              Defendant’s retained or non-retained expert witnesses.
 8
 9                               RULE 26(a)(2)(B) DESIGNATIONS

10   Charles Benbrook, PhD
     90063 Troy Road
11   Enterprise, OR 97828
12          Dr. Benbrook will testify about the regulatory history of glyphosate and glyphosate-
13
     based formulations, including Roundup; the interaction between EPA and Monsanto in relation
14
     to the registration and re-registration of Roundup formulations; the labeling responsibilities of
15
     pesticide manufacturers under federal regulation, including Monsanto’s obligations regarding
16

17   the Roundup label; the stewardship obligations of a pesticide manufacturer, including

18   Monsanto’s obligations regarding the stewardship of Roundup; whether certain publications

19   related to glyphosate safety were ghost authored by Monsanto and, generally, whether
20
     Monsanto’s publication planning and conduct comport with prevailing ethical and
21
     scientific/academic standards; and the sufficiency of the Roundup label during all relevant times.
22
             Plaintiff hereby incorporates by reference, all prior expert reports, deposition, trial, and
23
     hearing testimony in all Roundup litigation cases.
24

25           Dr. Benbrook’s hourly rate is $300.00. Dr. Benbrook has already been deposed with

26   respect to his opinions in this case. A copy of Dr. Benbrook’s curriculum vitae will be provided
27

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     to counsel electronically. Dr. Benbrook is providing an updated expert report along with a
 1

 2   supplemental materials considered list.

 3   Christopher Portier, PhD
     Scheibenstrasse 15
 4   CH-3600 Thun
 5   Switzerland

 6           Dr. Portier will testify on issues of general causation regarding whether exposure to

 7   glyphosate and/or glyphosate–based formulated products can cause cancer, and particularly
 8   non-Hodgkin lymphoma, including in the areas of toxicology, genotoxicity, biostatistics,
 9
     epidemiology, and the processes and methodologies encompassing the review, evaluation and
10
     assessment of chemicals as cancer hazards by the International Agency for Research on Cancer
11
     (IARC). These areas of testimony were the subject of his prior testimony in the Roundup
12

13   litigation. Accordingly, Plaintiff hereby incorporates by reference, all prior expert reports,

14   deposition, trial, and hearing testimony in all Roundup litigation cases.

15           Dr. Portier’s hourly rate is $450.0. Dr. Portier has already been deposed with respect to
16
     his general causation opinions being offered in this case. A copy of Dr. Portier’s curriculum
17
     vitae will be provided to counsel electronically. Dr. Portier is providing a supplemental materials
18
     considered list.
19
     Beate Ritz, MD, PhD
20
     650 Charles E. Young Dr. S.
21   Los Angeles, CA 90095

22          Dr. Ritz is designated in the areas of epidemiology with an emphasis on cancer
23   epidemiology on behalf of all Plaintiffs. Dr. Ritz will testify on issues of general causation
24
     regarding whether exposure to glyphosate and/or glyphosate–based formulated products can
25
     cause cancer, and particularly non-Hodgkins lymphoma, including in the areas of epidemiology,
26
     toxicology and genotoxicity. These areas of testimony were the subject of her prior testimony
27

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     in the Roundup litigation. Accordingly, Plaintiff hereby incorporates by reference, all prior
 1

 2   expert reports, deposition, trial, and hearing testimony in all Roundup litigation cases.

 3          Dr. Ritz’s hourly rate is $550.00. Dr. Ritz has already been deposed with respect to her
 4   opinions being offered in this case. A copy of Dr. Ritz’s curriculum vitae will be provided to
 5
     counsel electronically. Dr. Ritz is providing a supplemental materials considered list.
 6
     Charles William Jameson, PhD
 7   CWJ Consulting LLC
     2828 NW 46th Ave.
 8   Cape Coral, FL 33993-8806
 9
            Dr. Jameson is designated in the areas of toxicology, carcinogenesis, animal toxicology,
10
     and animal bioassay data. Dr. Jameson will testify regarding his analysis of glyphosate
11
     toxicology, epidemiology, and rodent bioassay data and the interpretation and methodology
12

13   related to that data. Dr. Jameson will testify on issues relating to the carcinogenicity of

14   glyphosate, including mechanistic data relating to genotoxicity, oxidative stress and other

15   aspects of cellular behavior. Dr. Jameson will offer testimony concerning his factual
16   participation in the International Agency for Research on Cancer (IARC) 112 Monograph,
17
     specifically as it relates to glyphosate, and on the IARC process in general. The basis of this
18
     factual testimony will be his role as the Subgroup Chair of the Cancer in Experimental Animals
19
     during the 112 Monograph. Dr. Jameson has already been deposed with respect to both his
20

21   expert opinions and his factual testimony being offered in this case. These areas of testimony

22   were the subject of his prior testimony in the Roundup litigation. Accordingly, Plaintiff hereby

23   incorporates by reference, all prior expert reports, deposition, trial, and hearing testimony in all
24
     Roundup litigation cases.
25

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            Dr. Jameson’s hourly rate is $400.00. A copy of Dr. Jameson’s curriculum vitae will be
 1

 2   provided to counsel electronically. Dr. Jameson is also providing a supplemental materials

 3   considered list.
 4   Chadi Nabhan, MD, MBA, FACP
 5   974 Bristol Drive
     Deerfield, IL 60015
 6
     Date Available for Deposition: August 30, 2019
 7
            Dr. Nabhan is designated in the areas of human cancers, causes of cancer, causes of non-
 8
 9   Hodgkin lymphoma, including the cancer risk following exposure to glyphosate and glyphosate-

10   based formulations, cancer diagnosis, cancer effects, cancer treatments, and the clinical practice

11   of oncology generally.
12          Dr. Nabhan will testify on issues of specific causation with respect to Plaintiff. Dr.
13
     Nabhan will testify regarding the general background of NHL, Plaintiff’’s medical history, the
14
     cause or causes of Plaintiff’s NHL, whether Plaintiff’s use of and exposure to Roundup is a
15
     substantial contributing factor to the his NHL, the reasonableness of Plaintiff’s treatment and
16

17   care, the reasonableness and necessity of Plaintiff’s medical treatment and expenses, Plaintiff’s

18   clinical course pain and suffering, and Plaintiff’s prognosis.

19         Dr. Nabhan has testified on numerous occasions in the Roundup litigation and, therefore,
20
     incorporates by reference, all prior expert reports, deposition, trial, and hearing testimony in all
21
     Roundup litigation cases.
22
            Dr. Nabhan’s hourly rate is $550.00. Dr. Nabhan has already been deposed with respect
23
     to his general causation opinions in this case. A copy of Dr. Nabhan’s curriculum vitae will be
24

25   provided to counsel electronically. Dr. Nabhan is providing an expert report for Plaintiff relating

26   to his specific causation opinions and a supplemental materials considered list.
27

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     William Sawyer, PhD
 1
     Toxicology Consultants & Assessment Specialists, LLC
 2   650 Pine Avenue
     Sanibel, FL 33957
 3
     Date Available for Deposition: September 15, 2019
 4

 5           Dr. Sawyer is designated in the areas of toxicology, exposure, dermal absorption, and

 6   risk assessment. Dr. Sawyer will testify on issues concerning the mechanism of absorption of

 7   glyphosate-based formulations through the skin and other exposure pathways, the role of
 8   surfactants on dermal absorption, toxicology and animal studies on dermal absorption, including
 9
     his analysis of the data and the interpretation and methodology related to that data; human
10
     exposure studies and data relating to glyphosate-based formulations, and the effect of wearing
11
     personal protective equipment on the exposure levels. These areas of testimony were the subject
12

13   of his prior testimony in the Roundup litigation. Accordingly, Plaintiff hereby incorporates by

14   reference, all prior expert reports, deposition, trial, and hearing testimony in all Roundup

15   litigation cases.
16           In addition, Dr. Sawyer will also testify regarding Plaintiff’s total exposure to Roundup,
17
     including the comparability of Plaintiff’s exposure with the exposure data from applicators in
18
     studies on glyphosate-based formulations.
19
             Dr. Sawyer’s hourly rate is $580.00. Dr. Sawyer has already been deposed with respect
20

21   to his general opinions relating to toxicology, exposure, dermal absorption, and risk assessment.

22   A copy of Dr. Sawyer’s curriculum vitae will be provided to counsel electronically. Dr. Sawyer

23   is providing an expert report for Plaintiff relating to his specific causation opinions and a
24
     supplemental materials considered list.
25

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     Dennis Weisenburger, MD
 1
     1500 E. Duarte Road
 2   Duarte, CA 91010

 3   Date Available for Deposition: September 23, 2019
 4          Dr. Weisenburger is designated In matters involving general causation and will testify
 5
     regarding causes of cancer, causes of non-Hodgkin lymphoma, whether exposure to glyphosate
 6
     and/or glyphosate–based formulated products can cause cancer, and particularly non-Hodgkin
 7
     lymphoma, including testimony in the areas of epidemiology, pathology, hematopathology,
 8
 9   cellular changes with the development of NHL and cancer development. These areas of

10   testimony were the subject of his prior testimony in the Roundup litigation. Accordingly,

11   Plaintiff hereby incorporates by reference, all prior expert reports, deposition, trial, and hearing
12   testimony in all Roundup litigation cases.
13
            In addition, Dr. Weisenburger will testify on issues of specific causation, including
14
     Plaintiff’s medical history, his review of Plaintiff’s pathology, whether Plaintiff’s use of and
15
     exposure to Roundup is a substantial contributing factor to his NHL, the reasonableness of
16

17   Plaintiff’s care, and Plaintiff’s prognosis.

18          Dr. Weisenburger’s hourly rate is $500.00. Dr. Weisenburger has already been deposed

19   with respect to his general causation opinions in this case. A copy of Dr. Weisenburger’s
20
     curriculum vitae will be provided to counsel electronically. Dr. Weisenburger is providing an
21
     expert report for Plaintiff relating to his specific causation opinions and a supplemental materials
22
     considered list.
23

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                                  RULE 26(a)(2)(C) DESIGNATIONS
 1

 2   Aaron Blair, PhD

 3          As a non-retained, third-party expert, Dr. Blair will offer testimony concerning the
 4   epidemiology of glyphosate and cancer, specifically non-Hodgkin lymphoma. His testimony
 5
     was taken on March 20, 2017. He will also offer testimony concerning the effect of the
 6
     Agricultural Health Study on the conclusions reached by the International Agency for Research
 7
     on Cancer (IARC) regarding glyphosate, i.e., that it would not change the IARC classification.
 8
 9   He will also testify that IARC is a reputable and reliable institution and that IARC followed

10   proper scientific guidelines in rendering its classification of glyphosate. The factual basis of his

11   testimony will be his 30+ years working in occupational epidemiology and his chairing of the
12   112 IARC Monograph program.
13
     Matthew Ross, PhD
14
            As a non-retained, third-party expert, Dr. Ross will offer testimony concerning the
15
     mechanism through which glyphosate causes cancer, specifically glyphosate propensity to
16

17   induce oxidative stress and cause genotoxicity. His testimony was taken on May 3, 2017. He

18   will also offer testimony concerning the conclusions reached by the International Agency for

19   Research on Cancer (IARC) regarding glyphosate, will testify that IARC is a reputable and
20
     reliable institution, and that IARC followed proper scientific guidelines in rendering its
21
     classification of glyphosate. The factual basis of his testimony will be his 20+ years working in
22
     molecular toxicology and his participation in the 112 IARC Monograph program.
23
     Treating Physicians
24

25          Plaintiff may call one or more of his treating healthcare providers to provide both factual

26   and expert testimony at trial. The identity of these healthcare providers can be found in the
27

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     medical records and Plaintiff Fact Sheet, which have been provided to counsel for Monsanto.
 1

 2   The subject matter of their testimony is expected to be the diagnosis, treatment and prognosis

 3   of Plaintiff’s NHL. These healthcare providers are expected to testify consistently with their
 4   entries in Plaintiff’s medical records.
 5
            DATE: August 20, 2019                 By: /s/ Aimee H. Wagstaff
 6                                                   Aimee H. Wagstaff (SBN 278480)
                                                     Aimee.wagstaff@andruswagstaff.com
 7                                                   Kathryn M. Forgie (SBN 110404)
                                                     Kathryn.forgie@andruswagstaff.com
 8                                                   David J. Wool (SBN 324124)
 9                                                   David.Wool@andruswagstaff.com
                                                     ANDRUS WAGSTAFF, PC
10                                                   7171 W. Alaska Drive
                                                     Lakewood, Colorado 80226
11                                                   Telephone: (866) 795-9529
                                                     Facsimile: (303) 376-6361
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                                     CERTIFICATE OF SERVICE
 1

 2         I hereby certify that a true and accurate copy of Plaintiff’s R. 26 Expert Disclosures was

 3   served upon the parties below via electronic mail and U.S. Mail, postage prepaid, this 20th day of

 4   August 2019:
 5         Brian L. Stekloff
 6         bstekloff@wilkinsonwalsh.com
           Tamarra Matthews Johnson
 7         tmatthewsjohnson@wilkinsonwalsh.com
           Rakesh Kilaru
 8         rkilaru@wilkinsonwalsh.com
           WILKINSON WALSH + ESKOVITZ LLP
 9         2001 M St. NW, 10th Floor
10         Washington, DC 20036

11                                                         /s/ Kellie Johnson

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